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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 UNITED STATES OF AMERICA,
                                             CRIMINAL FILE NO.
         v.                                  1:08-CR-153-1-TWT
 EDGAR JAMAL GAMORY
 also known as
 J.B.,
   Defendant.


                                        ORDER


      This is a criminal action.       It is before the Court on the Report and

Recommendation [Doc. 332] of the Magistrate Judge recommending denying the

Defendant’s Motion to Vacate Sentence, Motion for New Trial and Motion to Compel

[Doc. 320]. The Defendant’s Objections to the Report and Recommendation are

without merit. The testifying co-conspirators all testified under oath at trial that they

had not been promised anything by the Government but that they hoped that they

would benefit from their testimony by receiving more favorable sentences. None of

the witnesses have recanted their testimony. I have carefully reviewed the affidavits

attached to the Defendant’s Motion to Vacate Sentence. The affidavits are from

mutual friends of the witnesses and the Defendant. They purport to relate jailhouse
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telephone conversations some time after the Defendant’s trial in which two of the

witnesses complain about getting too much time to serve after their cooperation with

the Government. Statements such as this – even if admissible – that someone

“promised” them a lesser sentence than they got are inherently unreliable and

unbelievable in light of their sworn testimony before me in the trial of the case.

There is not a scintilla of evidence in the record that the Assistant United States

Attorney who tried this case engaged in prosecutorial misconduct, or presented

testimony that she knew or later learned was false. Thus, there is no need for an

evidentiary hearing in this matter. The Eleventh Circuit has already held that the

evidence of the Defendant’s guilt was overwhelming and it was. The Court approves

and adopts the Report and Recommendation as the judgment of the Court. The

Defendant’s Motion to Vacate Sentence, Motion for New Trial and Motion to Compel

[Doc. 320] are DENIED. The request for a Certificate of Appealability is DENIED.



         SO ORDERED, this 6 day of August, 2013.



                                             /s/Thomas W. Thrash
                                             THOMAS W. THRASH, JR.
                                             United States District Judge




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